Case o-Lo-/oo4o0-reg VOC o14-1 FiedO4icoilf Entered O4/co/1l/ Loi40li4o

Exhibit A
CATEGORY LIST

In re: Dowling College

Chapter 11 — Case No. 16-75545 (REG)

Case o-Lo-/oo4o0-reg VOC o14-1 FiedO4icoilf Entered O4/co/1l/ Loi40li4o

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL AMOUNT AVERAGE
CATEGORY HOURS CHARGED HOURLY RATE
1. | Asset Analysis 55.10 $31,073.50 $563.95
2. | Asset Sale 55.50 $29,009.50 $522.69
3. | Case Administration 92.30 $48,552.50 $526.03
4. | Claims Administration 18.80 $10,783.50 $573.59
5. | Claims Objection 9.00 $5,625.00 $625.00
6. | Creditors Meeting 35.40 $17,419.00 $492.06
7. | Fee Application 8.70 $598.00 $68.74
8. | Financing 74.00 $38,974.50 $526.68
9. | Litigation 23.60 $13,682.00 $579.75
10. | Plan/Disclosure 2.50 $1,254.50 $501.80
11, | Retention Order 21.20 $9,020.50 $425.50
Totals: 396.10 $205,992.50
Blended Hourly Rate: $520.05

 

 

 

 

 

BPOWERS/2058965. 1/066648

 
